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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                                 CRIMINAL ACTION

 VERSUS                                                                   NO. 11-107

 VANITY VINCENT                                                           SECTION: “G”(1)


                                         ORDER AND REASONS

        Before the Court is a Motion to Return Seized Property, filed by the State of Texas and the

Pearland Police Department (collectively, “Movants”).1                 Having considered the motion, the

opposition, the record, and the applicable law, for the following reasons, the Court will deny the

motion.



                                                I. Background

        On February 27, 2012, Movants filed the pending Motion to Return Seized Property, wherein

Movants seek to have returned currency in the amount of $13,845.2 The funds were initially seized

by the Pearland Police Department from defendant Vanity Vincent (“Vincent”) and others pursuant

to provisions in the Texas Code of Criminal Procedure regarding contraband.3 Regarding the funds,

on April 7, 2011, the State of Texas filed “a civil action in the 412th District Court of Brazoria

County, Texas, . . . seeking the judicial forfeiture [of the currency]” from Vincent and others, her co-



        1
            Rec. Doc. 236.

        2
            Id.

        3
           Id. at ¶ 1. The currency was alleged to be contraband under Texas law because it allegedly was intended
to be used in the commission of a felony narcotics offense. Id.

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defendants in that action.4 Prior to the conclusion of that action and pursuant to a federal warrant

signed by Magistrate Judge Sally Shushan in the Eastern District of Louisiana on September 28,

2011, the Pearland Police Department was directed to turn over the currency to federal authorities.5

Federal authorities sought these funds in relation to a drug-related conspiracy being prosecuted in

the Eastern District of Louisiana, which is this criminal action.6 Vincent is currently charged here

in this conspiracy,7 and the funds at issue are claimed by the government as a forfeiture in this

criminal proceeding.8

         Subsequent to the issuance of the federal warrant, the State of Texas filed a notice of nonsuit

and a motion to dismiss the state civil action, which the state court granted on October 17, 2011.9

On November 15, 2011, Vincent filed a motion in the Texas state court for return of the funds,

arguing that she was entitled to judgment for the funds given that the Texas state action had been

dismissed.10 Vincent’s co-defendant interest-holders filed waivers of interest to the seized funds,


         4
             Id. at ¶ 2.

         5
            Id. at ¶ 3. The warrant incorrectly stated the amount to be seized as $13,825 rather than $13,845. The
Government has explained this discrepancy as follows: “W hen the Government sought the seizure of the currency at
issue, it was believed that the amount was $13,825, as had been communicated by local law enforcement. However,
following the execution of the warrant and when depositing the sum into the appropriate holding account, federal
agents learned that the actual amount seized (and subject to forfeiture) is/was $13,845.” Rec Doc. 241-1 at p. 2 n. 3.

         6
           On May 5, 2011, an indictment was issued in the Eastern District of Louisiana, charging several
individuals in a drug-related conspiracy. Rec. Doc. 1. Vincent was not initially charged, but was later added by the
Third Superseding Indictment issued on December 1, 2011. Rec. Doc. 139.

         7
             See Fourth Superseding Indictment, Rec. Doc. 208.

         8
             Id. at p. 7; Bill of Particulars, Rec. Doc. 238.

         9
           Rec. Doc. 236 at ¶ 3. The state court noted that the State of Texas contended that the notice of nonsuit
was filed only after the Pearland Police Department had been served with the federal warrant. Rec. Doc. 236-1 at p.
3.

         10
              Rec. Doc. 236-1 at pp. 3-4.

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and on January 23, 2012, the state court entered a final order granting Vincent’s motion to have the

property returned to her and directing the Pearland Police Department to return the funds.11

         Because the Pearland Police Department had previously forwarded the funds to the Eastern

District of Louisiana pursuant to the federal warrant issued by Magistrate Judge Shushan, it no

longer had the funds to return them to Vincent. Accordingly, the Pearland Police Department, along

with the State of Texas, filed the instant motion.12 Therein, Movants argue that this Court should

issue an order directing return of the funds to the registry of the state district court for disposition.

Movants bring their motion under Federal Rule of Criminal Procedure 41(g).13

         Prior to the submission date on the Motion to Returned Seized Property, the Government

filed a Motion to Strike Third Party Motion to Return Seized Property, which was set for submission

at an earlier time than the instant motion.14 Therein, the Government argues that under 21 U.S.C.

§ 853, not only are Movants inappropriate persons to seek return of the property but also that “third

party involvement in this case at this stage is expressly barred by [that] federal law,” such that

Movants are not entitled to a hearing at this time.15 The Government further contends that (1)

Federal Rule of Criminal Procedure 41(g) provides Movants with no avenue of relief and (2) there




         11
            Rec. Doc. 236 at ¶ 4. Given that no application was made to the state court to release its control over the
seized funds prior to the funds being turned over to federal authorities, the state court found that it retained
jurisdiction over the funds even after they were turned over to federal authorities. Rec Doc. 236-1 at p. 5.

         12
              Rec. Doc. 236 at ¶ 5.

         13
              Id. at ¶ 8.

         14
              Rec. Doc. 241.

         15
              Id. at p. 3.

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is no concurrent jurisdictional bar as to the criminal forfeiture.16 On April 17, 2012, the Government

filed its memorandum in opposition to the instant motion, in which the Government “hereby

adopt[ed], as if copied herein in extenso, all arguments raised in its Motion to Strike and

memorandum in support thereof.”17 On May 17, 2012, this Court denied the Motion to Strike,

finding that the Motion to Return Seized Property could “more appropriately be considered on its

own merits,”18 an inquiry to which this Court will now turn.



                                       II. Law and Analysis

A. Movants’ Entitlement to Hearing

       In opposition to the pending motion, the Government has asserted that Movants are not

entitled to a hearing at the present time because they are inappropriate parties to seek return of the

funds because they have no possessory interest in the funds and instead seek return for the sole

purpose of returning the funds to Vincent.19 The Government argues that Vincent is the appropriate

person to petition the Court for return of the property in question.20 Further, the Government argues

that Movants may not enter this phrase of a criminal case.21

       Federal law bars a party claiming an interest in property subject to forfeiture from intervening



       16
            Id. at pp. 3-5.

       17
            Rec. Doc. 276 at p. 2.

       18
            Rec Doc. 310 at p. 2.

       19
            Rec. Doc. 241-1 at p. 3.

       20
            Id.

       21
            Id.

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in a trial or appeal of a criminal case involving forfeiture of property, stating: “Except as provided

in subsection (n) of this section, no party claiming an interest in property subject to forfeiture under

this section may -- (1) intervene in a trial or appeal of a criminal case involving the forfeiture of such

property under this section. . . .”22 Under subsection (n), an exception exists such that a third party

may assert its interest in ancillary proceedings under procedures set forth in that subsection.23

However, the Fifth Circuit Court of Appeals, sitting en banc in United States v. Holy Land

Foundation for Relief and Development, has explicitly held that third parties may contest forfeiture

under 21 U.S.C. § 853(n) “only after the termination of the pending criminal case.”24            In Holy

Land, like here, the Government argued that the movant was required to pursue its interest in the

property in question under the scheme set forth in the federal criminal forfeiture statute, 21 U.S.C.

§ 853.25 The court agreed, finding “the relevant law is to be found in the criminal forfeiture statute

itself, which lays out a detailed scheme by which third party claimants like [the movants] can assert

their interest in the restrained assets.”26 The court determined that “it would be a significant burden

on the Government to have to defend the forfeiture order from attack by a third party during the

course of an ongoing criminal prosecution.”27




        22
             21 U.S.C. § 853(k).

        23
             Id.; 21 U.S.C. § 853(n).

        24
             493 F.3d 469, 477 (5th Cir. 2007) (en banc).

        25
             Id. at 472-73.

        26
             Id. at 477.

        27
             Id.

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         Therefore, to the extent that Movants even qualify as third parties,28 the criminal case is still

ongoing and the time is not yet ripe for Movants to seek return of the seized property. As such, the

instant motion is premature and Movants are not entitled to hearing at this time.



B. Return Under Federal Rule of Criminal Procedure 41(g)

         Notwithstanding that the instant motion is premature, this Court would also be unable to

grant relief under Federal Rule of Criminal Procedure 41(g). Here, Movants have brought their

motion to return seized property under this Rule, which provides:

                A person aggrieved by an unlawful search and seizure of property or by the
                deprivation of property may move for the property’s return. The motion must be
                filed in the district where the property was seized. The court must receive
                evidence on any factual issue necessary to decide the motion. If it grants the
                motion, the court must return the property to the movant, but may impose
                reasonable conditions to protect access to the property and its use in later
                proceedings.29

Accordingly, even if the search or seizure was lawful, a person may nonetheless be aggrieved

because “harm may come from the interference with the use of the property by persons who are not

suspected of wrongdoing.”30 The burden rests on the moving party to show, by a preponderance of

the evidence, that he is entitled to lawful possession.31 However, the motion to return the property




         28
            Because the Court finds that this motion is premature, it need not consider whether Movants qualify as
third parties who might properly seek return of the funds at a later time.

         29
              Fed. R. Crim. P. 41(g) (emphasis added).

         30
              3A C. W right, et al., Federal Practice & Procedure § 690 (4th ed. 2012).

         31
              United States v. Dean, 100 F.3d 19 (5th Cir. 1996).

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must be filed in the district where the property was seized.32

         In this case, even assuming that the Movants qualify as “aggrieved person(s),”33 the motion

is improperly before this Court. The instant motion was filed in the Eastern District of Louisiana,

which is not where the funds were seized. Therefore, this Court has no authority to return the funds

under Federal Rule of Criminal Procedure 41(g) and need not consider whether Movants have

carried their burden to show that they are entitled to lawful possession of the funds.



                                                 III. Conclusion

         For the reasons set forth above,

         IT IS HEREBY ORDERED that the Motion to Return Seized Property34 is DENIED.

                                       1st day of June, 2012.
         NEW ORLEANS, LOUISIANA, this ______



                                                                ________________________________
                                                                NANNETTE JOLIVETTE BROWN
                                                                UNITED STATES DISTRICT JUDGE




         32
             Fed. R. Crim. P. 41(g); see also In re Grand Jury Proceedings, 115 F.3d 1240 (5th Cir. 1997); Jacobo-
Flores v. United States, No. L-07-105, 2008 W L 4415146, at *2 (S.D. Tex. Sept. 24, 2008) (“A court is the proper
venue if it sits in the same district where the property was seized.”) (citing United States v. Clymore, 217 F.3d 370,
373, 376 (5th Cir. 2000)).

         33
            Similar to the Government’s argument that Movants do not qualify as third parties under 21 U.S.C.
§ 853, the Government contends that Movants do not qualify as aggrieved persons because Movants only seek return
of the funds so that they can return them to Vincent. Rec. Doc. 241-1 at p. 5. Because the Court finds that it lacks
authority to grant a Rule 41(g) motion here, it need not consider whether Movants might qualify as aggrieved
persons under the Rule.

         34
              Rec. Doc. 236.

                                                           7
